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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS


In    S & S Heavy Haul, LLC
Re:                                                   Case No.: 18−33318                                       ENTERED
                                                                                                               06/19/2018
      Debtor
                                                      Chapter: 7


                        NOTICE AND ORDER REGARDING MOTIONS TO LIFT STAY



The Attorney who signs a Motion to Lift Stay must personally appear in Court at all hearings relating to the motion
unless an agreed order has been filed with the Clerk of Court at least two (2) business days prior to the scheduled
hearing. The attorney who signs the motion may not send another attorney in lieu of appearing personally. Sanctions
may be imposed for failure to personally appear.

It is so ORDERED.


Signed and Entered on Docket: 6/19/18
                     Case 18-33318 Document 8 Filed in TXSB on 06/21/18 Page 2 of 2
                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 18-33318-jb
S & S Heavy Haul, LLC                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0541-4                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 19, 2018
                                      Form ID: mlsoB                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2018.
db             +S & S Heavy Haul, LLC,   1400 Trail Road,   El Reno, OK 73036-6324

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2018 at the address(es) listed below:
              Eric Michael English   on behalf of Debtor   S & S Heavy Haul, LLC eenglish@porterhedges.com,
               emoreland@porterhedges.com;ksteverson@porterhedges.com
              Randy W Williams   williarw@tklaw.com,
               rw13@trustesolutions.com;nashira.parker@tklaw.com;rw13@trustesolutions.net;rw11@trustesolutions.n
               et;rww.trustee1@gmail.com;mattia.maldanado@tklaw.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                            TOTAL: 3
